     Case 2:21-cv-06067-RGK-RAO       Document 1    Filed 07/28/21   Page 1 of 27 Page ID
                                            #:1



 1   Kavon Adli, California State Bar No. 203040
 2   Seth W. Wiener, California State Bar No. 203747
     THE INTERNET LAW GROUP
 3   9100 Wilshire Boulevard, Suite 725 E
 4   Beverly Hills, California 90212
     Telephone Number: (310) 910-1496
 5
     Facsimile Number: (310) 356-3257
 6
 7
     Attorneys for Specially-Appearing Defendant
     IMPULSE REPAIR LLC
 8
 9                               UNITED STATES DISTRICT COURT
10                              CENTRAL DISTRICT OF CALIFORNIA
11
     MARY-LISA GUILLAUME, an                       Case No.: 2:21-cv-6067
12
     individual;
13   ROBERT LAICH, an individual;                  NOTICE OF REMOVAL
14   RYAN ARTOLACHIPE, an individual;
     BRYCE MACCHARLES, an individual;
15   GRACIELA SAENZ, an individual;
16   SARAH SMITH, an individual;
     JADE WALLIS, an individual;
17
18                      Plaintiffs,
19
     vs.
20
21   IMPULSE REPAIR LLC, a Utah limited
     liability company; and DOES 1-100,
22   inclusive;
23
                        Defendants.
24
25   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
26            PLEASE TAKE NOTICE that Defendant Impulse Repair LLC removes this action
27   from the Superior Court of California, County of Los Angeles, to this United States
28   District Court for the Central District of California, Western Division.

     Noice of Removal
     Page 1
     Case 2:21-cv-06067-RGK-RAO         Document 1     Filed 07/28/21   Page 2 of 27 Page ID
                                              #:2



 1            All process, pleadings, and orders served upon Impulse Repair LLC in this action
 2   are attached.
 3            The grounds for removal are:
 4            1.     This action was commenced on June 8, 2021, in the Superior Court of
 5   California, County of Los Angeles.
 6            2.     Los Angeles is embraced by this United States District Court for the Central
 7   District of California, Western Division.
 8            3.     This Court has original jurisdiction of this action under 28 U.S.C. § 1332
 9   because, as further alleged below, the matter in controversy exceeds the sum or value of
10   $75,000, exclusive of interest and costs, and is between citizens of different States.
11            4.     The complaint demands a sum exceeding $75,000. (Compl. at 21:5–17.)
12   See 28 U.S.C. § 1446(c)(2).
13            5.     The complaint alleges that each plaintiff is domiciled in California. (Compl.
14   ¶¶ 15–21.) Each plaintiff is thus a citizen of California.
15            6.     Each member of defendant Impulse Repair LLC is a citizen of Utah.
16            7.     All other defendants are sued under fictitious names. (Compl. ¶ 24.) See
17   28 U.S.C. § 1441(b)(1).
18            8.     A proof of service avers that the summons and complaint were mailed on
19   July 2, 2021, in accordance with section 415.40 of the California Code of Civil
20   Procedure. Service was thus deemed complete on July 12, 2020. See Cal. Civ. Proc. Code
21   § 415.40. This notice of removal is being filed before August 11, 2020, which is timely.
22   See 28 U.S.C. § 1446(b)(1).
23   Dated: July 28, 2021               THE INTERNET LAW GROUP
24
25
26
                                         __________________________________
                                         Seth W. Wiener, Esq.
27                                       Attorneys for Specially-Appearing Defendant
28                                       IMPULSE REPAIR LLC

     Noice of Removal
     Page 2
  Case 2:21-cv-06067-RGK-RAO                                  Document 1         Filed 07/28/21               Page 3 of 27 Page ID
                                                                    #:3

                                                                                                                                                  POS-010
ATIORNEY OR PARTY WITHOUT ATIORNEY (Name, State Bar number, and address):                                               FOR COURT USE ONLY
Joshua Cintas, Esq.
State Bar No: 334594
9815 Kika Ct.
San Diego, CA 92129
         TELEPHONE NO.: (858) 395 2646                     FAX NO. (Optional):
E-MAIL ADDRESS (Optional): ioshmcintas@amail.com
   ATIORNEY FOR (Name): Plaintiffs
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
 STREET ADDRESS: 111 N. Hill St.
 MAILING ADDRESS: 111 N. Hill St..
c1TY AND ZIP coDE:Los Anaeles 90012
    BRANCH NAME: Stanlev Mosk Courthouse
   PLAINTIFF/PETITIONER: Marv-Lisa Guillaume. et al                                                 CASE NUMBER:
DEFENDANT/RESPONDENT: Impulse Repair LLC                                                            21STCV21495
                                                                                                    Ref. No. or File No.:
                          PROOF OF SERVICE OF SUMMONS

                                      (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
   a.    m   summons
    b. W         complaint
    c. D         Alternative Dispute Resolution (ADR) package
    d. D         Civil Case Cover Sheet (served in complex cases only)
    e. D         cross-complaint
    f.   D       other (specify documents):


3. a. Party served (specify name of party as shown on documents served):
      Impulse Repair LLC
    b.   D       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                 under item Sb on whom substituted service was made) (specify name and relationship to the party named in item 3a):

4. Address where the party was served:
   255 W 400 N Huntington, UT 84528
5. 1servea tne party (cneck proper t>ox)
   a. D     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
            receive service of process for the party (1) on (date):                             (2) at (time):

    b.   D       by substituted service. on (date):                           at (time):            I left the documents listed in item 2 with or
                 in the presence of (name and title or relationship to person indicated in item 3):

                 (1) D       (business) a person at least 18 years of age apparently in charge atthe office or usual place of business
                             of the person to be served. I informed him or her of the general nature of the papers.
                 (2) D       (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                             place of abode of the party. I informed him or her of the general nature of the papers.
                 (3) D       (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                             address of the person to be served, other than a United States Postal Service post office box. I informed
                             him or her of the general nature of the papers.
                 (4) DI thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                       at the place where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents on
                       (date):                       from (city):                            orc:J a declaration of mailing is attached.
                 (5) D       I attach a declaration of dlllgence stating actions taken first to attempt personal service.
                                                                                                                                                      Page 1 of2
Form Adopted for Mandatory Use                                                                                                   Code of Clvtt Procedure, § 417.10
  Judicial Council of Cal~omla                          PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007)
     Case 2:21-cv-06067-RGK-RAO                             Document 1           Filed 07/28/21            Page 4 of 27 Page ID
                                                                  #:4

                                                                                                                                  POS-010
        PLAINTIFF/PETITIONER: Mary-Lisa Guillaume, et al                                           CASE NUMBER:
 DEFENDANT/RESPONDENT: Impulse Repair LLC                                                          21STCV21495


5. c.      CK] by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                  address shown in item 4, by first-class mail, postage prepaid,
                   (1) on (date): 0710212021                                  (2) from (city): San Diego, CA
                   (3) D          with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                  to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc.,§ 415.30.)
                   (4) CK] to an address outside California with return receipt requested. (Code Civ. Proc.,§ 415.40.)

     d. D         by other means (specify means of seTVice and authorizing code section):




           D      Additional page describing service is attached.

6. The "Notice to the Person Served" (on the summons) was completed as follows:
     a. D         as an individual defendant.
     b.    D      as the person sued under the fictitious name of (specify):
     c. D         as occupant.
     d. [K] On behalf of (specify): Impulse Repair LLC
            under the following Code of Civil Procedure section:
                              D 416.10 (corporation)                    D 415.95 (business organization, form unknown)
                              D 416.20 (defunct corporation)            D 416.60 (minor)
                              D 416.30 Uoint stock company/association) D 416.70 (ward orconservatee)
                              CJ 416.40 (association or partnership)    c:J 416.90 (authorized person}
                              D 416.50 (public entity)                  D 415.46 (occupant}
                                                                        0 other: Limited Liabilitv Company
7. Person who served papers
     a. Name: Joshua Cintas
     b. Address: 9815 Kika Ct. San Dieqo, CA 921 29
     c. Telephone number (858) 395 2646
     d. The fee for service was: $
     e. tam:
           (1) D   not a registered California process server.
           (2) [K] exempt from registration under Business and Professions Code section 22350{b).
           (3) D a registered California process server:
                                 0    owner      0   employee       D    independent contractor.
                       (ii)      Registration No.:
                       (iii) County:

8. CK] I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
       or
9.   D        I am a California sheriff or marshal and I certify that the foregoing is true and correct.

Date: 07/02/2021

Joshua Cintas
          (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)



POS-010 [Rev. January 1, 2007}                         PROOF OF SERVICE OF SUMMONS                                                   Pa ge 2 of2

For your protectfon and privacy, please press the Clear
This Fonn button after you have printed the fonn.                 I Print this fonn ] I Save this form I                 I Clear this formJ
              Case 2:21-cv-06067-RGK-RAO                                     Document 1                 Filed 07/28/21                  Page 5 of 27 Page ID
                                                                                   #:5
Electronically FILED by Superior Court of Galifomia, County of Los Angeles on 06/08/2021 06:23 PM Sherri R. Carter, Executive Officer/Clerk of Court, by D. Williams, Deputy Clerk
                                                                                       21STCV21495

                                                                                                                                                                             SUM-100
                                                          SUMMONS                                                                                    FOR COURT USE ONLY
                                                                                                                                                 (SOLO PARA USO DE LA CORTE)
                                                {CITACION JUDICIAL)

           NOTICE TO DEFENDANT:
           (AV/SO AL DEMANDADO):
          IMPULSE REPAIR LLC, a Utah limited liability company; and DOES 1-100, inclusive

           YOU ARE BEING SUED BY PLAINTIFF:
           (LO ESTA DEMANDANDO EL DEMANDANTE):
           MARY-LISA GUILLAUME, an individual, et al (see attachment}

           NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
           below.
              You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
           served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form If you want the court to hear your
           case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
           Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
           court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
           be taken without further warning from the court.
              There are other legal requirements. You may want to call an attorney right away. If you do not Know an attorney, you may want to call an attorney
           referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
           these nonprofit groups at the California Legal Services Web site (www.lawhalpcalifomia.org). the California Courts Online Self-Help Center
           (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
           costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
           /AV/SO! Lo han demandado. Si no responde dentro de 30 dfas, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
           continuaci6n.
              Tiena 30 DIAS DE CALENDARIO despues de que le entreguen esta citacl6n y papeles Jegales para presenter una respuesta por escrito en esta
           corte y hacer que se entregue una copia al demandante. Una carts o una Hamada telef6nica no lo protegen. Su respuesta por escrito tiene qua estar
           en formato legal correcto si desea que procesen su caso en la corte. Es posible qua haya un formulario qua usted pueda user para su respuesta.
           Puede encontrar estos fOrmu/arios de la carte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
           biblioteca de /eyes da su condado o en la corte que le queda mas cerca. Si no puede pagar la cuota de presentac/6n, pida al secretario de la carte que
           le de un formularlo de exenci6n de pago de cuotas. Si no presents su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podra
           quitar su sue/do, dinero y bienes sin mas advertencla.
              Hay otros requisitos legates. Es recomendable qua /fame a un abogado /nmediatamente. Si no conoce a un abogado, puede /Jamar a un seNicio de
           remisf6n a abogados. Si no puede pagar a un abogado, es posible qua cumpla con los requisitos para obtener seNicios legales gratuitos de un
           programa de seNicios legales sin fines de tucro. Puede encontrar estos grupos sin fines de Jucro en el sitlo web de California Legal Setvices,
           (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de Califomia, (www.sucorte.ca.gov) o poniendose en contacto con la carte o el
           colegio de abogados locales. AV/SO: Por fey, la carte tiene derecho a reclamar las cuotas y /os costos exentos por imponer un gravamen sabre
           cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
           pager el gravamen de la carte antes de que la carte pueda desechar el caso.
           The name and address of the court is:                                                                               CASE NUMBER: (Numero de/ Caso):
           (El nombre y direcci6n de la corte es):
           111 N. Hill St., Los Angeles, CA 90012 Stanley Most Courthouse]                                                   I 21 STc:::'V'21 495
           The name, address, and telephone number of plaintitrs attorney, or plaintiff without an attorney, is: (El nombre, la direcci6n y el numero
           de telefono de/ abogado de/ demandante, o dal demandante que no tiene abogado, as):
           Jamie L. Carper, Carper Law, PLLC, 3651 Lindell Road, Suite 01211 , Las Vegas, Nv 89103
           DATE:                                                                        Clerk, by Sherri R . carter Executive Officer 1 Clerk or Court , Deputy
           (Fecha)     061OBI2 0 21                                                     (Secretario) o. Williams                                       (Adjunto)
           (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
           (Para prueba de entraga de esta citati6n use el formulario Proof of Service of Summons, (POS-010)).
                                                     NOTICE TO THE PERSON SERVED: You are served
            (SEAL]
                                                     1.   D       as an individual defendant.
                                                     2.   D       as the person sued under the fictitious name of (specify):

                                                     3.   m on behalf of (specify):
                                                           under:[!] CCP 416. 10 (corporation)                                    D       CCP 416.60 (minor)
                                                                   D CCP 416.20 (defunct corporation}                             D       CCP 416.70 (conservatee)
                                                                   D CCP 416.40 (association or partnership}                      D       CCP 416.90 (authorized person}
                                                                   CJother (specify):
                                                     4.   D       by personal delivery on (date):
                                                                                                                                                                                 Pa e1 of1
           Form Adopted for Mandatory Use
           Judicial Cooncil of Califomia
                                                                                         SUMMONS                                                      Code of Civil Procedure§§ 412.20, 465
                                                                                                                                                                          l\'WW.coul't$.ca.gov
           SUM-100 (Rev. July 1, 2009]

           !='or your proteCtk>n and~prfvacy; pleas e press the Clear
           This Form button after you have printed the form.                        Print this form           I Save this form I                              IClear this form I
     Case 2:21-cv-06067-RGK-RAO                       Document 1            Filed 07/28/21            Page 6 of 27 Page ID
                                                            #:6

                                                                                                                             SUM-200(A
 SHORT TITLE:                                                                                 CASE NUMBER:

Mary-Lisa Guillaume, et al v. Impulse Repair LLC

                                                          INSTRUCTIONS FOR USE
 '   This fonn may be used as an attachment to any summons if space does not pennit the listing of all parties on the summons.
 '   If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
     Attachment form is attached."
List additional parties (Check only one box. Use a separate page for each type of party.);

      00 Plaintiff              D   Defendant   D    Cross-Complainant         D     Cross-Defendant

     ROBERT LAICH, an Individual;
     RYAN ARTOLACHIPE, an individual;
     BRYCE MACCHARLES, an Individual;
     GRACIELA SAENZ, an individual;
     SARAH SMITH, an individual;
     JADE WALLIS, an lndlvldual




                                                                                                                  Page _1__      of
                                                                                                                                      Page1 ot1
 Fonn Adopted for Mandatol)I Use
   Judlclal Coundl of Califomfa
                                                ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) (Rev. January 1, 2007]                     Attachment to Summons
For your protection and privacy, please press the Clear
This Form button after you have printed the form.          IfPrint this form 11 Save this form I                       ![clear this tonli]
3ctrorncauy t-ILt:U oy :,upenor 1;ou11or1.;a111orn1a, i;ounty or Los Angeles on Uo/OH/::!O~~   ger§J';NJ'g~rri R. Garter, Executive Officer/Clerk of Court, by D. Williams,Deputy Clerk
                  Case 2:21-cv-06067-RGK-RAO                             Document 1 Filed 07/28/21 Page 7 of 27 Page ID
                                                                                     #:7
                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Christopher Lui


                       CARPER LAW, PLLC
                       Jamie L. Carper, Esq. (SBN: 337225)
                  '.2 3651 Lindell Road, Suite Dl211
                   ,., Las Vegas, NV 89103
                   J   Telephone: (702) 582-9374
                       jamie@carperlawfirm.com
                  4
                  5 LAW OFFICE OF JOSHUA M. CINTAS
                    Joshua M. Cintas, Esq. (SBN: 334594)
                  6 98 15 Kika Ct.
                    San Diego, CA 92129
                  7 Telephone: (858) 395-2646
                    joshmcintas@gmail.com
                  8
                       Attorneys for Plaintiffs
                  9
                10                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                11                            COUNTY OF LOS ANGELES (UNLIMITED JURISDICTION)
                12

                13       MARY-LISA GUILLAUME, an                                                            Case No.: 21 STC'../21 495
                         individual;
                14       ROBERT LAICH, an individual;
                         RYAN ARTOLACHIPE, an individual;                                                   COMPLAINT FOR VIOLATIONS OF
                15       BRYCE MACCHARLES, an individual;                                                   CALIFORNIA RESTRICTIONS ON
                         GRACIELA SAENZ, an individual;
                16       SARAH SMITH, an individual;                                                        UNSOLICITED COMMERCIAL E-
                         JADE WALLIS, an individual;                                                        MAIL (Cal. Bus. & Prof. Code § 17529.5)
                17
                                                      Plaintiff,
                18                                                                                          JURY TRIAL DEMANDED
                                                            v.
                19
                         IMPULSE REPAIR LLC, a Utah limited
                20
                         liability company; and DOES 1-100,
                21       inclusive,

                22                                Defendants.

                23

                24
                25

                26
                27

                28

                                                                                             l of21
                                                                                           COMPLAINT
 Case 2:21-cv-06067-RGK-RAO            Document 1         Filed 07/28/21    Page 8 of 27 Page ID
                                             #:8


                                         I. INTRODUCTION
 2 1.     In 2003, the California Legislature found that "[r]oughly 40 percent of all e-mail traffic in
 3        the United States is comprised of unsolicited commercial e-mail advertisements (hereafter
 4        spam) and industry experts predict that by the end of 2003 half of all e-mail traffic will be
 5        comprised of spam." See California Business & Professions ("Bus. & Prof.") Code
 6        § l 7529(a).
 7 2.     The California Legislature also found that spam e-mails do cause damage and
 8        acknowledged the cost of spam in the United States in 2003: "According to Ferris Research
 9        Inc., a San Francisco consulting group, spam will cost United States organizations more
10        than ten billion dollars ($10,000,000,000), including lost productivity and the additional
11        equipment, software, and manpower needed to combat the problem. California is 12
12        percent of the United States population with an emphasis on technology business, and it is
13        therefore estimated that spam costs California organizations well over 1.2 billion dollars
14        ($1,200,000,000)." Bus. & Prof. Code§ l 7529(d).
15 3.
          However, since the California Legislature declared its findings regarding the cost of spam
16        in 2003, the actual cost has increased dramatically. In 2012, the Journal of Economic
17        Perspectives published an academic paper which estimated that e-mail spam cost American
18        businesses and consumers roughly $20 billion annually. Rao, Justin M, and David H
19
          Reiley. 2012. ''The Economics of Spam." Journal of Economic Perspectives, 26 (3): 87-
20        110.
21   4.   As ofNovember of2018, spam e-mail messages accounted for 54.3 percent of the total e-
22        mail traffic worldwide. Symantec Corporation, Monthly Threat Report (December 2018).
23                            II. SUMMARY OF THE COMPLAINT
24 5.     Plaintiffs MARY-LISA GUILLAUME, an individual; ROBERT LAICH, an individual.;
25        RYAN ARTOLACHIPE, an individual; BRYCE MACCHARLES, an individual;
26        GRACIELA SAENZ, an individual; SARAH SMITH, an individual; and JADE WALLIS,
27        an individual, (collectively "Plaintiffs") bring this Action against Defendant IMPULSE
28        REPAIR LLC, a Utah ]jmited liability company, and DOES 1-100 (collectively,

                                                 2 of21
                                             COMPLAINT
 Case 2:21-cv-06067-RGK-RAO               Document 1        Filed 07/28/21     Page 9 of 27 Page ID
                                                #:9


1           " Defendants") for advertising in at /easttwo-hundred-eleven (2 11) unsolicited commercial
2           emails 1 (i.e. , "spams") sent to Plaintiffs' California email addresses beginning on or about
3           in violation of Bus. & Prof. Code§ 17529.5 ("Section 17529.5" ).
4 6.        The spam e-mails sent by Defendants materially violated Bus. & Prof. Code § 17529.5
5           because the spams (1) contain or are accompanied by a third-party's domain name without
6           the permission of the third paity, or (2) contain or are accompanied by falsified,
7           misrepresented, or forged header information, or (3) have subject lines that Defendants
8           know would likely mislead a recipient, acting reasonably under the circumstances about a
9           material fact regarding the contents or subject matter of the message.
10 7.       While many violations are described below with specificity, this Complaint alleges
11          violations of the statutes in their entirety.
12 8.       All of the offending spam e-mails were sent to a California e-mail address. 2
13   9.     Plaintiffs never gave "direct consent" 3 as required by Bus. & Prof. Code§ 17529.l(d) to
14          receive commercial e-mail advertisements from, or had a "preex isting or current business
15          relationship" 4 pursuant to Bus. & Prof. Code§ 17529.l(l) with Defendants.
16   10.    Defendant is strictly liable for advertising in spams sent by its third-pa1ty marketing agents,
17          as are the marketing agents themselves. Third-party marketing agents ai·e also liable.
18
19   1
       «Unsolicited commercial e-mail advertisement" means that the recipient has not provided direct
     consent to receive advertisements from the advertiser and does not have a preexisting or current
20   business relationship, as defined by subdivision (l), with the advertiser promoting the lease, sale,
     rental, gift, offer or other disposition of any property, goods, services, or extension of credit. See
21   Bus. & Prof. Code§ 17529.l(o)(l)-(2).
     2 "California electronic mail address" or " California e-mail address" means any of the following:
22
     (1) an e-mail address furnished by an electronic mail service provider that sends bills for
23   furnishing and maintaining that e-mail address in this state; (2) an e-mail address ordinarily
     accessed from a computer located in this state; or (3) an e-mail address furnished to a resident of
24   this state. See Bus. & Prof. Code§ 17529.l(b).
     3 "Direct consent" means that the recipient has expressly consented to receive e-mail
25
     advertisements.from the advertiser, either in response to a clear and conspicuous request for the
26   consent or at the recipient's own initiative. Bus. & Prof. Code§ 17529.l(d) (emphasis added).
     4
       "Preexisting or current business relationship," as used in connection with the sending of a
27   commercial e-mail advertisement, means that the recipient has made an inquiry and has provided
     his or her e-mail address, or has made an application, purchase, or transaction, with or without
28   consideration, regarding products or services offered by the advertiser. Bus. & Prof. Code
     § 17529.l(l).
                                                    3 of21
                                                  COMPLAINT
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                                               #:10

 1 11.        Spam recipients are not required to allege or prove reliance or actual damages to have
 2            standing. See Bus. & Prof. Code§ 17529.S(b)(l)(A)(iii). Nevertheless, Plaintiffs did suffer
 _,.,
              damages by receiving the spams. See, e.g., Bus. & Prof. Code § 17529(d), (e), (g), (h).
 4            However, Plaintiffs elect to recover statutory damages only and forego recovery of any
 5            actual damages. See Bus. & Prof. Code§ 17529.5(b)(l)(B).
 6 12.        The m1lawful elements of these spams represent willful acts of falsity and deception, rather
 7            than clerical errors.
 8 13.        This Court should award Plaintiffs liquidated statutory damages against Defendants in the
 9            amount of $1,000 per unlawful spam e-mail, as authorized by Bus. & Prof. Code
10            § l 7529.5(b)(l)(B)(ii).
11      14.   This Court should award Plaintiffs attorneys' fees pursuant to Bus. & Prof. Code
12            § 17529.5(b)(l)(C).
13                                              III. PARTIES

14 15.        Plaintiff MARY-LISA GUILLAUME is now, and at all times relevant has been, an

15            individual domiciled in the State of California, County of Los Angeles. Plaintiff 0~11s and

16            at all relevant times herein owned a computer with an Internet connection. This computer

17            is located in the State of California. GUILLAUME received twenty-one (21) of the spams.

18            Plaintiff ordinarily accesses these e-mail accounts from California. Plaintiff is a
              " rec ipient"5 as define d by Bus. & Prof. Code§ 17529.l(m) of " unsolicited commercial e-
19

20            mail advertisements" as defmed by Bus. & Prof. Code § 17 529 .1(o ).

21
        16.   Plaintiff ROBERT LAICH is now, and at all times relevant has been, an individual

22            domiciled in the State of California, County of Los Angeles. Plaintiff owns and at all

23            relevant times herein owned a computer with an Internet connection. This computer is

24            located in the State of California. LAICH received eleven (11) of the spams. Plaintiff

25            ordinarily accesses these e-mail accounts from California. Plaintiff is a "recipient" as

26
        5
     "Recipient" means the addressee of an unsolicited commercial e-mail advertisement. If an
27 addressee of an unsolicited commercial e-mail advertisement has one or more e-mail addresses
   to which an unsolicited commercial e-mail advertisement is sent, the addressee shall be deemed
28 to be a separate recipient for each e-mail address to which the e-mail advertisement is sent. See
   Bus. & Prof. Code§ 17529.l(m).
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              defined by Bus. & Prof. Code § 17529.l(m) of "unsolicited commercial e-mail
 2            advertisements" as defined by Bus. & Prof. Code§ 17529.l(o) .
 ...,
 )
        17.   Plaintiff RYAN ARTOLACHIPLE is now, and at all times relevant has been, an individual
 4            domiciled in the State of California, County of Los Angeles. Plaintiff owns and at all
 5            relevant times herein owned a computer with an Internet connection. This computer is
 6            located in the State of California. ARTOLACHIPE received forty-seven (47) of the spams.
 7            Plaintiff ordinarily accesses these e-mail accounts from California. Plaintiff is a "recipient"
 8            as defined by Bus. & Prof. Code § 17529.1 (m) of "unsolicited commercial e-mail
 9            advertisements" as defined by Bus. & Prof. Code § 17529 .1 (o).
10      18.   Plaintiff BRYCE MACCHARLES is now, and at all times relevant has been, an individual
11            domiciled in the State of California, County of Los Angeles. Plaintiff owns and at all
12            relevant times herein owned a computer with an Internet connection. This computer is
13            located in the State of California. MACCHARLES received fo11y -five (45) of the spams.
14            Plaintiff ordinarily accesses these e-mail accounts from California. Plaintiff is a "recipient"
15            as defined by Bus. & Prof. Code § 17529.l(m) of "unsolicited commercial e-mail
16            advertisements" as defined by Bus. & Prof. Code § 17529.l(o).
17 19.        Plaintiff GRACIELA SAENZ is now, and at all times relevant has been, an individual
18            domiciled in the State of California, County of Los Angeles. Plaintiff owns and at all
19            relevant times herein owned a computer with an Internet connection . This computer is
20            located in the State of California. SAENZ received thirty-six (36) of the spams. Plaintiff
21            ordinarily accesses these e-mail accounts from California. Plaintiff is a "recipient" as
22            defined by Bus. & Prof. Code § 17529 .1 (m) of "unsolicited commercial e-mail
23            advertisements" as defined by Bus. & Prof. Code§ 17529.l(o).
24 20.        Plaintiff SARAH SMITH is now, and at all times relevant has been, an individual
25            domiciled in the State of California, County of Los Angeles. Plaintiff owns and at all
26            relevant times herein owned a computer with an Internet connection. This computer is
27
              located in the State of California. SMITH received twenty-four (24) of the spams. Plaintiff
28            ordinarily accesses these e-mail accounts from California. Plaintiff is a "recipient" as

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 1         defined by Bus. & Prof. Code § 17529.l(m) of " unsolicited commercial e-mail
 2         advertisements" as defined by Bus. & Prof. Code § 17529. l(o).
 3 21.     Plaintiff JADE WALLIS is now, and at all times relevant has been, an individual domiciled
 4         in the State of California, County of Los Angeles. Plaintiff owns and at all relevant times
 5         herein owned a computer with an Internet connection. This computer is located in the State
 6         of California. WALLIS received twenty-seven (27) of the spams. Plaintiff ordinarily
 7         accesses these e-mail accounts from California. Plaintiff is a "recipient" as defined by Bus.
 8         & Prof. Code § 17529 .1 (m) of "unsolicited commercial e-mail advertisements" as defined
 9         by Bus. & Prof. Code§ 17529.l(o).
10 22.     Plaintiffs' joinder in this Action is proper pursuant to Cal. Code of Civil Procedure § 378
11         because Plaintiffs seek relief based on the same series of transactions or occurrences: all
12         received similar spams in the same general time period advertising Defendants' websites
13         and its purported streaming device, and all of those spams were sent by Defendant or its
14         Marketing Partners. The same questions of law (e.g. , violations of Section 17529.5, strict
15         liability) and fact (e.g., direct consent, practices and procedures to prevent advertising in
16
           unlawful spam) will arise in this Action. The fact that each Plaintiff does not sue for exactly
17         the same spams does not bar joinder: "It is not necessary that each plaintiff be interested as
18         to every cause of action or as to all relief prayed for. Judgment may be given for one or
19         more of the plaintiffs according to their respective right to relief." Cal. Code Civ. Proc. §
20         378(b).
21   23.   Defendant IMPULSE REPAIR LLC, is a limited liability company with its principal place
22         of business at 255 W 400 N Huntington, UT 84528. At all times material to this Complaint,
23         IMPULSE REP AIR LLC has owned and operated the website creditmonitor4u.com.
24
           IMPULSE REP AIR LLC transacts or has transacted business in California and throughout
25         the United States and has created an ongoing relationship in California related to the
26         distribution of the spam emails. Defendant is an "advertiser" as defined by Bus. & Prof.
27         Code§ 17529.1 (a) in each of the e-mails received by Plaintiff.
28   24.   Plaintiffs do not know the true names or legal capacities of the Defendants designated

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           herein as DOES 1 through 100, inclusive, and therefore sue said Defendants under the
 2         fictitious name of "DOE."
 3 25.     Plaintiffs are informed and believe and thereon alleges that the Defendant designated
 4         herein as a DOE Defendant is legally responsible in some manner for the matters alleged
 5         in this Complaint, and is legally responsible in some manner for causing the injuries and
 6         damages of which Plaintiffs complain. This includes the marketing affiliates and publishers
 7         that send spam emails on behalf of IMPULSE REP AIR LLC. This also includes the alter-
 8         egos of IMPULSE REPAIR LLC.
 9 26.     Plaintiffs are informed and believe and thereon allege that each of the Defendants
10         designated herein as a DOE Defendant was, at all times relevant to the matters alleged
11         within this Complaint, acting in conjunction with the named Defendants, whether as a
12         director, officer, employee, agent, affiliate, customer, participant, or co-conspirator. When
13         the identities of DOE Defendants 1-100 are discovered, or otherwise made available,
14         Plaintiffs will seek to amend this Complaint to allege their identity and involvement v\ith
15         particularity.
16                                 IV. JURISDICTION AND VENUE
     27.   This Court has jurisdiction over the Action because Plaintiffs are domiciled in and citizens
17

18         of California, and Plaintiffs received the unlawful spams in California.

19
     28.   Plaintiffs arc California residents who received the emails in California and have thus been

20         harmed in California.

     29.   Defendant transacts or has transacted business in California and throughout the United
21

22         States and has created an ongoing relationship in California related to the distribution of

           the spam emails.
23
     30.   Plaintiffs are informed and believe and thereon allege that Defendant advertised m
24

25         numerous spam emails sent to California residents, including Plaintiffs.

     31.   Plaintiffs are informed and believe and thereon allege that Defendant hired, conspired,
26

27         partnered or joint ventured with unknown third parties to send these spam emails to

28         California residents, including Plaintiffs, in order to advertise its products and/or services.


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     32.   Plaintiffs are informed and believe and thereon allege that Defendant was aware or should
2          have been aware that its agents, co-conspirators, partners, joint venturers were sending
,,
)
           spam emails advertising their services to California residents.
4 33.      Plaintiffs are informed and believe and thereon allege that Defendant created and engaged
5          in an ongoing relationship in California related to the distribution of the spam emails.
6 34.      Plaintiffs are informed and believe and thereon allege that Defendant caused to be sent
 7         numerous spam emails to the email servers of Google, LLC, a Delaware LLC with email
 8         servers in Mountain View, California.
 9 35.     Plaintiffs are further informed and believe and thereon allege that the spam e-mails at issue
10         contain remote images and hyperlinks that allow Defendant and its marketing affiliates to
11         collect "click reports" which aggregate various types of data whenever the e-mails are
12         opened or the hyperlinks are clicked by a recipient. These click reports also allow
13         Defendant and its marketing affiliates to review the IP addresses of individuals who click
14         on the hyperlinks in the spam e-mails, including their location in California, and Defendant
15         and its marketing affiliates thereby intentionally availed themselves of the benefits and
16         protections of California and knowingly targeted and/or transacted business with residents
17         of California via commercial e-mail, such as Plaintiff.
18   36.   Venue is proper in Los Angeles County (or indeed, any county in California of Plaintiffs'
19         choosing) because Defendant is a foreign company that has not designated the location and
20         address of a principal office in California or registered to do business in California with
21         the California Secretary of State. See Easton v. Superior Court of San Diego (Schneider
22         Bros. Inc.), 12 Cal. App. 3d 243, 246 (4th Dist. 1970).
23                                    V. TECHNICAL BACKGROUND
24 37.     "A 'domain name' is defined by an 'alphanumeric designation that is registered with or
25         assigned by any domain name registrar as part of an electronic address on the Internet."'
26         Balsam v. Trancos, Inc., 203 Cal.App.4th 1083, 1090 fn. 6 (quoting Bus. & Prof. Code §
27         17529.1 subd. (e)).
28

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 1 38.        "WHOIS" refers to the means of determining the identity of a domain registrant.
2             "Technically, WHOIS is not the database, itself, but a protocol for submitting a query to a
 3            database in order to find contact information for the owner of a domain name." Solid Host
 4            NL v. NameCheap, Inc. , 652 F. Supp. 2d 1092, 1095 fn. 3 (C.D.Cal. 2009) (citing Matthew
 5            Bierlin & Gregory Smith, Privacy Year in Review: Growing Problems with Spyware and
 6            Phishing, Judicial and Legislative Developments in Internet Governance, and the Impacts
 7            on Privacy, 1 I/S: J.L. & POL'Y FOR INFO. SOC'Y 279, 313 (2005)).
 8   39.      "To secure the creation, registration, and use of a domain name, one must first assent to
 9            the registrar's contract. In addition to the payment of a small fee, the contract requires a
10            potential registrant to agree to (I) provide and maintain current and accurate identifying
11            information . . ." In re Forchion, 198 Cal. App. 4th 1284, 1308-09 (2011).
12                                     VI. THE UNLAWFUL SPAMS
13   40.      Plaintiffs allege that Defendant engaged in tortious conduct: "a civil wrong, other than
14            breach of contract, for which a remedy may be obtained, usually in the form of damages;
15            a breach of a duty that the law imposes on persons who stand in a particular relation to one

16            another." Tort, BLACK'S LAW DICTIONARY (11th ed. 2019).

17         A. The Emails at Issue are Unsolicited Commercial E-Mail Advertisements (i.e.

18            "Spam")
19 41.        Plaintiffs hereby incorporates the foregoing paragraphs as though set forth in full herein.
20 42.        Plaintiffs received at least two-hundred-eleven (211) spams advertising Defendant's

21            websites at Plaintiffs' California e-mail address.

22 43.        The e-mails at issue are "commercial e-mail advertisements" 6 because they advertise credit

23            score protection, review, and increase, provided by Defendant at the website

24            creditmonitor4u.com. The spams were initiated for the purpose of advertising and
25            promoting Defendant's credit report subscription products or services.

26 44.        T he e-mails are "unsolicited commercial e-mail advertisements" because Plaintiffs never

27
     6
      "Commercial e-mail advertisement" means any electronic mail message initiated for the purpose
28   of advertising or promoting the lease, sale, rental , gift offer, or other disposition of any property,
     goods, services, or extension of credit. Bus. & Prof. Code§ 17529. l(c).
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        gave "direct consent" to Defendant, or any of its affiliates to send commercial e-mails.

        Plaintiffs have never had a "preexisting or current business relationship" with Defendant,

       or its affiliates.
        Plaintiffs did not opt-in to receive e-mails from Defendant's marketing agents. Even ~f

        Plaintiffs had opted in to receive e-mails from Defendant's marketing agents-which

        Plaintiffs deny- that would not constitute direct consent to Defendant, the advertiser in the

        spams. See Balsam v. Trancos Inc. , 203 Cal. App. 4th 1083, 1099-1100 (1st Dist. 2012).

        Plaintiffs did not consent or acquiesce to receive the spams at issue. Plaintiffs did not waive

        any claims related to the spams at issue.

        Defendant advertised in, sent, and/or conspired to send at least two-hundred-eleven (2 11)

        unlawful spams that Plaintiffs received at Plaintiffs "California e-mail address[es]."

        The spams are all unlawful because the spams contain or are accompanied by materially

        false and deceptive information, such as the use of third-party domain names without the

        third party's pe1mission, and/or falsified, misrepresented, or forged inf01mation contained

        in or accompanying the e-mail headers, and/or misleading Subject Lines, as described in

        more detail below.

     B. The Spam E-mails Contain Header Information That Is Materially Falsified or

        Misrepresented Because They Use Sender Domain Names That Neither Identify the
        Actual Sender Nor Are Readily Traceable to the Sender in Violation of Business &
        Professions Code § 17529.5(a)(2)

        The "From" line field is part of e-mail headers. The From line has two distinctive parts: (1)

        the From Name, and (2) the Sender E-mail Address. For example, if an e-mail's "From"

        ' line states: "John Doe <johndoe@yahoo.com>", the From Name is "John Doe" and the

        Sender E-mail Address is "<johndoe@yahoo.com>."

        The From Name in an e-mail's header is designed to identify who the e-mail is from. The

        Internet Engineering Task Force created a collection of"Requests for Comment" ("RFCs")

        that define the rules and standard protocols that enable e-mail to work. According to RFC

        5322 at~ 3.6.2 (emphasis in original):

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                       The "From:" field specifies the author(s) of the message, that is, the
2                      mailbox(es) of the person(s) or system(s) responsible for the writing
                       of the message .... In all cases, the "From:" field SHOULD NOT
3                      contain any mailbox that does not belong to the author(s) of the
                       message.
4
     52.      The only content of a "From" line visible before an e-mail is opened is the "From Name."
 5
              Therefore, a From Name that misrepresents who a spam is from is a deliberate and material
6
              misrepresentation of the most important part of the e-mail header- not a mere clerical
 7
              error.
8
     53.      Although Plaintiffs do not bring any claims under the federal CAN-SPAM Act, the Federal
 9
              Trade Commission ("FTC") identified the From Name as the first item in misleading
10
              header information in its guide to CAN-SPAM compliance when it stated: "Don't use false
11
              or misleading header information. Your " From," "To," " Reply-To," and routing
12
              information - including the originating domain name and e-mail address - must be
13
              accurate and identify the person or business who initiated the message." Federal Trade
14
              Commission, CAN-SPAM Act: A Compliance Guide for Business (emphasis added). 7
15
     54.      Plaintiffs do not insist on any particular label (e.g., "Impulse Repair," " CreditMonitor4u,"
16
              etc.) in the From Name field. Rather, Plaintiffs contend that the text of a From Name field,
17
              whatever it is, cannot misrepresent who the e-mails are from.
18
     55.      The spam emails Plaintiffs received included e:-.mail advenisements that contained or were
19
              accompanied by materially falsified, misrepresented, or forged header information in
20
              violation of Section 17529.5(a)(2) because they include a generic From Name, an
21
              untraceable sending domain name, and no information in the body which could be used to
22
              readily identify the sender or advertiser.
23
     56.      Plaintiffs received spam e-mails from sender domain names that did not identify the actual
24
              sender and which were not readily traceable to the sender from the body of the spam e-
25
              mails or by using a publicly available online database, such as WHOIS.
26
     57.      Defendants engaged in acts of material falsity and deception by deliberately using
27

28
     7
         See http://www.business.ftc.gov/documents/bus61-can-spam-act-compliance-guide-business.
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 l         untraceable, privately and/or "proxy" registered domain names to conceal its identity from
2          the recipients of its spams.
3 58.      The senders of the spam e-mails deliberately registered the domain names in a manner that
4          prevents recipients from identifying who actually sent the e-mail, and are materially false
5          and deceptive.
6    59.   Thus, the untraceable domain names used in the spam e-mails to advertise Defendant
7          affirmatively and falsely represent both the identity of the sender and that the sender has
 8         no connection to Defendant. See Balsam v. Trancos, Inc., 203 Cal. App. 4th 1083, 1098.
 9 60.     All of the spam e-mails that Plaintiffs received advertising Defendant's websites contained
10         forged, falsified, or misrepresented header information and had From Names that
11         misrepresented who the spams were from, and therefore violated Section l 7529.5(a)(2).
12 61.     Here, most the spam emails at issue include generic From Names, such as "Credit Score
13         Card," "CreditScoreReview," "2020scoredetails.com," and "Credit Score Center. These
14         generic From Names misrepresent who is advertising in the email, and therefore violate
15         Section 17529.5(a)(2). Further, the From Name that includes the purported domain name
16         2020scoredetails.com has not even been registered on the WHOIS database.
l7   62.   The use of these generic From Names is false and misleading because they do not identify
18         the sending party or advertiser and cannot be readily traced back to the true owner/sender.
19         The use of these From Names is also intended to prevent recipients from being able to
20         identify Defendant as the true source of the emails.
21   63.   Plaintiffs are informed and believe and thereon allege that Defendant knowingly chose to
22         advertise using generic From Names precisely so that recipients will not know who the
23         emails are really from when viewing the spams in the inbox view. This forces recipients to
24         open the emails to see if the emails might actually be from someone with whom the
25         recipient has had dealings, or if the emails are in fact, as is the case here, nothing but spams.
26 64.     There is no way that ordinary, reasonable consumers, looking at the same or similar emails,
27         could readily associate the From Names with Defendant, the true advertiser and beneficiary
28         of the spam emails, and the sender' s identity is not readily ascertainable from the body or

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 1       content of the spam emails, which did not readily identify the actual sender of the e-mails
 2       or Defendant.
 3 65.   These generic, forged, falsified, or misrepresented From Names are utterly ambiguous as
 4       to who the spam e-mails are from, and contain misrepresented information because the
 5       spa.ms are not from these purported senders. In fact, the spams could just as easily have
 6       come from Defendant's competitors or some other entity or individual.
 7 66.   In Rosolowski v. Guthy-Renker LLC, the court permitted From Names that were not the
 8       sender's official corporate name as long as the identity of the sender was readily
 9       ascertainable in the body. 230 Cal. App. 4th 1403, 1407, 1416 (2d Dist. 2014). However,
10       the From Names in that case (Proactiv and Wen Hair Care) were the advertiser's fanciful
11       trademarks and well-known brands with their own websites. But here, unlike the spams in
12       Rosolowski, the From Names are generic and are not well-known trademarks or brands
13       readily associated with Defendant. There is no way an ordinary consumer, looking at the
14       same or similar email From Name in their inbox, could readily associate them with
15       Defendant.
16 67.   Registration information for the domain names used to send spams is information
17       contained in or accompanying e-mail headers.
18 68.   " [H]eader information in a commercial e-mail is falsified or misrepresented for purposes
19       of Section 17529.S(a)(2) when it uses a sender domain name that n e ither identifies the
20       actual sender on its face nor is readily traceable to the sender using a publicly available
21       online database such as WHOIS" and the sender's identity is not readily ascertainable from
22       the body of the e-mail." See Balsam, 203 Cal. App. 4th at 1101 (emphasis in original);
23       Rosolowski, 230 Cal. App. 4th at 1417.
24 69.   The spa.ms that Plaintiffs received advertising Defendant were purportedly sent from
25       domain names that were "proxy" registered, privately registered, fraudulently registered,
26       unregistered forged domains which do not actually exist, and even third-party domain
27       names that also violate 17529.S(a)(l). Thus, the domains were not readily traceable to the
28


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             sender by querying the WHO IS database, in violation of Section 17529.5. See Balsam, 203
 2           Cal. App. 4th at 1097-1101.
 ..,
 .)
       70.   The unregistered domain names used in forged sender addresses are xvl8z. org, x3 3ngtk9.us,
 4           wr58z4m3.us, vqcaj.org, v3sk9.org, tspoc53v.us, smioz.us, pc0q4.us, p 7xh6lac.us,
 5           /Og59xgr.us, k2sv2. us,jpOOx.us, h8wa4a9y. us, fx3km. us,fvx61.us,fu786. us, dlihc997d4.us,
 6           ccx7f2i69m.us, 364b7.us, 28siuwjr.us, 7u37u.us, 7q6no.us, 7dg5g2ss.us, 4k2wu83o.us,
 7           Ox5zl.org,   rwq86893.us,     rvsyz.us, p28cv8Jodk.us, p6yj8.us, nbrOf us,         kwxte.org,
 8           k48312ofus,j587v.org,j97m4531.us, ikj5e.us, gieay.us,fo27i.us, e60y5.org, baz94983.us,
 9           a59zqgqp3q.us, 6569goeca.us,         75d65uk822.us, 53jhnq0p.us, 45koforg, 8y2x2.us,
10           4scej.us, lwbc9.org, yt09c5r0.us, vn0l53n6.us, v8sgt.us, v3b9x72p.us, usi798s4.us,
11           tt2na.org,   sxkki.us,    o896759i.us,    o5pdm588.us,     n4Jkg48lyd.us,      m30ww04x.us,
12           l9v743r6.us, jt396.us, gmia9p6l.us, f4cpt.us, d3u69.us, d0llno65.us,             btr32w56.us,
13           bh3299xy.us,    27264g01.us,      444a0qth.us,   49d92gdfus,    9p5bfjo5.us,     6es3wzd0.us,
14           6bia7.us,    5weci.org,    2j7o5.org,    lvle8.us,   Oszhowrh.us,    Obqlp.us,     Oboco.org,
15           z8muy3bd.us,     Os310n82.us,      elgtx.org,    ak42c8gu.us,   5779mxx2.us,       695ny.org,
16           54v532p3.us, 52qyu.org, 32.fxfus, 8fo35.org, 08b8e.us, 7fjqn.us, 5wtkc9069u.org,
17
             4gd09ap36n.org,     3z31 7.org,    lxyOm.org,    Osal552lp2.org,    Oignd.org, fq00jrf2.us,
18           ho2a44d4.us, m3yxk.us, m37uu.us, ok57k5aw.us, rOwbq.us, r7268i-f.070.us, rw73c.org,
19           ry6rt.org, v5f6t.org, vcuau.us, jdwOJ.us, y6sy6.us, q3dgs.org, pbc8pna3.us, mtp2k.us,
20           m5yz6.us, j4zgn.us, i0067k8394.us, ffu.Op4.fw2 7.us, e05oe984.us, dwagg.org, cyjjl.us,
21           500bjkpo.us, 92y613p8.us, 020wy7a3.us, 7n8gd.org, 6t0bw.us, 5ule7.org, l rjn48fa.us,
22           zp44a.org, ygl5y.us, y302w.us, xg367Ja8.us, w8149090.us, w7r7w.us, wlrpk.us,
23           u5Jb3.org, trga9.org, pptl7.org, mt4cu7he12.us, mli5x.org, k81x921w42.us, iw4jc.us,
24           ilwdd.org, h9krdus, g2d4n0ay73.org, fqc18.us, d0cfeq96.us, bpn3z.us, bgnfc.org,
25
             b35oo.org, 5118n4h6.us, 934p5ls71c.org, 686/r.org, 49t4l.us, 46y7nz42wforg, 9sx7j.org,
26           8awnh.us, 7yd2nr3fzk.us, 6hjio.us, 4p5ai.org, 3qwsfq7oak.org, 2r4wijwa58fkpa3w555.us,
27
             and Odzxs.us. Plaintiffs are informed and believe and thereon allege that Defendants
28

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 1         advertise in spam emails with forged unregistered sender domain names to conceal the
 2         sender's identity.
 3 71.     The third-party domain name used by the sender without permission of the owner is
 4         amazonaws. com-which is owned by Amazon.com, Inc. Plaintiffs are informed and
 5         beliebe and thereon allege that Amazon.com, Inc. did not provide permission for the
 6         Defendants to use Amazon.com, Inc ' s domain name in any spams. Plaintiffs are informed
 7         and believe and thereon allege that Defendants advertise in spam emails with forged third-
 8         party sender domain names to conceal the sender' s identity.
 9 72.     Some spa.ms have purported sender email addresses that contain proxy registered domain
10         names. These domain nan1es are onehabitchanges. com and costscribe. com. Plaintiffs are
11         informed and believe and thereon allege that Defendants advertise in spam emails with
12         proxy-registered sender domain names to conceal the sender's identity.
13   73.   Some spa.ms contain purported sender addresses that contain domain names that are
14         fraudulently registered on the WHOIS database. The domains acticize.com, controng.com,
15         and zimbark. com are registered to Karisa Omalley at 440 Winchester Street, Palatine, IL
16         60067. The domains aboselexandin.com, largetict.com, plealt.com, and groblis.com are
17         registered to Eldridge Engels at 4029 Washington Avenue, Jackson, MS 39213 . The
18         domain amusefusic.com is registered to Aaliyah Weston at 3661 Brown Street, Tucson, AZ
19         85724. Plaintiffs are informed and believe and thereon allege that nobody with the names
20         Karisa Omalley, Eldridge Engels, or Aaliyah Weston had anything to do with registering
21         the domain names and are not the true names of the domains registrants. Further, the
22         addresses at 440 Winchester Street, Palatine, IL 60067, 4029 Washington Avenue,
23
           Jackson, MS 39213, and 3661 Brown Street, Tucson, AZ 85724 do not physically or
24
           actually exist. Plaintiffs are informed and believe and thereon allege that Defendants
25         knowingly use domain names fraudulently registered on the WHOIS database in order to
26         conceal their identities.
27 74.     Plaintiffs could not identify Defendant or its spamming affiliates who sent the spa.ms at
28
           issue by querying the WHOIS database for the domain names used to send the spam e-

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              mails at issue.
2 75.         Plaintiffs are informed and believe and thereon allege that there is no database online where
3             an email recipient could find any Defendants by searching for or tracing the From Names.
4 76.         Thus, the spam e-mails received by Plaintiffs advertising Defendant were not readily
 5            traceable to the sender by querying the WHOIS database, in violation of Section 17529.5.
6             Balsam, 203 Cal. App. 4th at 1097-1101.
 7 77.        Here, the From Name fields in the headers of the spam e-mails contained or were
 8            accompanied by generic From Names that neither disclose the true sender's identity nor
 9            permit the recipient to readily identify the sender. Therefore, such header information is
10            deceptive and does constitute a falsification or misrepresentation of the sender's identity
11            in violation of Section 17529.5(a)(2). See Balsam, 203 Cal. App. 4th at 1097.
12         c. The Spam Emails Have Subject Lines That Are Materially Misleading Relative to the
13            Contents of the Emails in Violation of Business & Professions Code § 17529.5(a)(3)
14 78.        Section l 7529.5(a)(3) prohibits Subject Lines that are likely to mislead a reasonable
15            recipient relative to the contents or subject matter of the e-mails.
16 79.        Defendants advertised in spam e-mails that had Subject Lines that are likely to mislead a
17            recipient acting reasonably under the circumstances about a material fact regarding the
18            contents or subject matter of the e-mails.
19   80.      Samples of the Subject Lines contained in the spams include variations of "Negative
20            Impacts on your Credit Score Due to COVID-19?" and "Your 2020 transunion, Equifax,
21            and experian credit-scores."
22   81.      The Subject Line is materially misleading because a recipient acting reasonably could read
23            the Subject Lines and believe that there has been a negative impact on their credit score, or
24            that the spam email contains the recipient' s credit scores.
25   82.      Thus, each of the Subject Lines, even when viewed in conjunction with the body of the e-
26            mail, is materially false and deceptive and likely to mislead a recipient acting reasonably
27            about a material fact regarding the content or subject matter of the message.
28 I

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 1           D. Defendant is Strictly Liable for the Spam E-mails Sent By its Marketing Agents
 2 83.          Plaintiffs are informed and believe and thereon allege that Defendant contracted with third-
 ,.,
 j
                party advertising networks and affiliates to advertise its websites for the purpose of selling
 4              products and services for a profit.
 5 84.          Defendant knowingly, intentionally, and voluntarily chose to outsource their advertising to
 6              third-party spam networks and spammers.
 7 85.          Advertisers are liable for advertising in spam e-mails, even if third parties sent the e·mails:
 8
                       "There is a need to regulate the advertisers who use spam, as well as
 9                     the actual spammers because the actual spammers can be difficult to
                       track down due to some return addresses that show up on the display
10                     as ' unknown' and many others being obvious fakes and they are
                       often located offshore. The true beneficiaries of spam are the
11
                       advertisers who benefit from the marketing derived from the
12                     advertisements." (Bus. & Prof. Code § l 7529(j)(k).) "It is unlawful
                       [ ] to adverlise in a commercial e-mail advertisement [ ] under any
13                     of the following circumstances ... "

14
                Bus. & Prof. Code § 17529.5 (emphasis added). Thus, Defendant's agents are also liable
15
                for sending the unlawful spams.
16
       86.      Section 17529.5(a) "makes an entity strictly liable for advertising in a commercial e-mail
17
                ... regardless ofwhether the entity knew that such e-mails had been sent or had any intent
18
                to deceive the recipient." Hypertouch Inc. v. ValueClick Inc., 192 Cal. App. 4th 805 , 820-
19
                21 (2011) (emphasis added).
20
       87.      In fact, in Hypertouch, the court of appeal held that advertisers are strictly liable for
21
                advertising in false and deceptive spams, even if the spams were sent by third parties.
22

23                     [S}ection 17529.5 makes it unlawful for a person or entity "to
                       advertise in a commercial e-mail advertisement" that contains any
24                     of the deceptive statements described in subdivisions (a)(J)-(3).
                       Thus, by its plain terms, the statute is not limited to entities that
25                     actually send or initiate a deceptive commercial e-mail, but applies
                       more broadly to any entity that advertises in those e-mails.
26

27                     Thus, like other California statutes prohibiting false or ntisleading
                       business practices, the statute makes an entity strictly liable for
28                     advertising in a commercial e-mail that violates the substantive
                       provisions described in section 17529.5, subdivision (a) regardless
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1                    of whether the entity knew that such e-mails had been sent or had
                     any intent to deceive the recipient.
2

3            Id. at 820-21. The court did not find that this was an arbitrary requirement; rather, the court

4            identified sound policy reasons behind the Legislature's decision to create a strict liability

5            statute. Id. at 829.

6 88.        Moreover, Plaintiffs are informed and believe and thereon allege that Defendant and/or

7            Defendant's affiliates and/or Defendant's marketing agents intended to deceive recipients

8            of their spam messages through the use of falsified, misrepresented, and/or misleading

9            information in third-party domain names, From Names, domain name registrations, and

10            Subject Lines, as described herein.

11 89.       Forged Sender E-mrul Addresses do not write themselves. The false and misrepresented

12            information contained in and accompanying the e-mail headers are not "clerical errors."

13            Plaintiffs are informed and believe and thereon allege that Defendant and/or Defendant's

14            affiliates and/or Defendant's marketing agents went to great lengths to create falsified and

15            misrepresented information contained in and accompanying the e-mail headers in order to

16            materially deceive recipients, Internet Service Providers, and spam filters.

17   90.      Plaintiffs are informed and believe and thereon allege that Defendant has knowledge that

18            its affiliates/marketing agents engage in the sending of false and deceptive span1.

19   91.      P laintiffs are informed and believe and thereon allege that Defendant and its marketing

20            agents intended to profit, actually profited, and continue to profit, and were unjustly

21            enriched by, their wrongful conduct as described herein.

22         E. No Proof of Reliance or Actual Damages is Necessary Because Plaintiffs Sue for

23            Statutory Liquidated Damages

24 92.        The California Legislature set liquidated damages as $1,000 per spam. Bus. & Prof. Code

25            § l 7529.5(b)(l)(B)(ii).

26 93.        Plruntiffs are informed and believe and thereon allege that the $1,000 per spam figure is

27            comparable with damages in other areas of consumer protection law, e.g., $500-$1,500

28            starutory damages per junk fax, pursuant to Business & Professions Code§ l 7538.43(b).

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1 94.           Plaintiffs' rightful and lawful demand for liquidated damages in the amount of $1,000 per
2               e-mail are necessary to further the California Legislature's objective of protecting
...,
j
                California residents from unlawful spam.
4      95.      Section 17529.5 does not require Plaintiffs to quantify their actual damages, allege or prove
 5              reliance on the adve11isements contained in the spams, or purchase the goods and services
 6              advertised in the sparns. Recipients of unlawful spam have standing to sue and recover
 7              liquidated damages. Bus. & Prof. Code§ 17529.S(b)(l)(A)(iii); Hypertouch, 192 Cal. App.
8               4th at 820, 822-23, 828.
 9 96.          However, Plaintiffs did suffer damages by receiving the unlawful spams advertising
10               Defendant's products and services in the state of California, at their California e-mail
11               addresses. Bus. & Prof. Code § 17529(d), (e), (g), (h). Regardless, Plaintiffs do not seek
12               actual damages in this Action, only liquidated damages. Bus. & Prof. Code §
13               17529.S(b)(l)(B).
14 97.           Plaintiffs are informed and believe and thereon alleges that Defendant has not established
15               and implemented, with due care, practices and procedures reasonably designed to
16               effectively prevent unsolicited commercial e-mail advertisements that are in violation of
17               Section 17529.5.
18
                                          FIRST CAUSE OF ACTION
19           [Violations of California Restrictions on Unsolicited Commercial E-mail, [s}j,]California
                                     Business & Professions Code § 17529.5]
20                                          (Against All Defendants)
       98.       Plaintiffs hereby incorporate the foregoing paragraphs as though set forth in full herein.
21
                 Plaintiffs received the spam e-mails within one year prior to filing this Complaint.
22 99.
23     100.      Defendant advertised in, sent, assisted others in sending, conspired to send, contracted with

                 others to send, and/or otherwise caused to be sent at least two-hUi1dred-eleven (211)
24
                 unsolicited commercial e-mail advertisements to Plaintiff's California electronic mail
25
                 addresses that had materially falsified, forged and/or misrepresented information contained
26
                 in or accompanying the e-mail headers, and third-party domain names without the
27
                 permission of the third party, in violation of Bus. & Prof. Code§ 17529.5.
28

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 l   101.   Plaintiffs are infonned and believe and thereon allege that some of the emails use hypertext
2           markup language ("HTML") in the body which reference remote images, which are not
j"          part of the email body but rather a link to a web server that could be anywhere on the
4           Internet and contrnlled by any unknown third party. Many email clients automatically
 5          block remote images preventing recipients from seeing the sender upon initially opening
 6          the email.
 7 102.     A remote image is not actually part of the email body, but rather is a link to an image hosted
 8          on a remote web server that could be anywhere on the Internet and controlled or
 9          manipulated by Defendant or an unknown third party. See ZooBuh, Inc. v. Better
10          Broadcasting, LLC 2013 U.S. Dist. LEXIS 77033 *22 n. 29 (D. Utah 2013).
11   103.   Some spammers use remote hosted images to detect when emails are opened to detect
12          active email addresses so that the spammer can either resell the email address and/or direct
13          more emails to active email addresses which open emails.
l4   104.   Plaintiffs are infonned and believe and thereon allege that most email clients. including
15          Plaintiffs', automatically block remote hosted images in spam as a secmity measure to
16          prevent spammers from detecting active email addresses.
17 105.     The use of remote hosted images permits the senders to make the emails "self-destrncting"
18          in order to hide the identities of the Defendant and to avoid responsibility for Defendant' s
19          deliberately misleading unsolicited email advertisements and illegal activities.
20   106.   The unlawful elements of these spam e-mails represent willful acts of falsity and deception,
21          rather than clerical errors.
22   107.   The California Legislature set liquidated damages at one thousand dollars ($1,000) per e-
23          mail.
24   108.   Plaintiffs seek reimbursement of reasonable attorneys' fees and costs as authorized by
25          Section 17529.S(b)(l)(C).
26 109.     The attorneys' fees provision for a prevailing spam recipient is typical of consumer
27          protection statutes and supported by Code of Civil Procedure§ 1021.5. By prosecuting this
28          action, Plaintiffs expect to enforce an important right affecting the public interest and

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            thereby confer a significant benefit on the general public or a large class of persons. The
 2          necessity and financial burden of private enforcement is such as to make the award
 3          appropriate, and the attorneys' fees should not, in the interest of justice, be paid out of the
 4          recovery of damages.
 5                                           PRAYER FOR RELIEF

 6 WHEREFORE, Plaintiffs pray that judgment be entered against Defendant for:
 7      •   An Order from this Court declaring that Defendant violated Bus. & Prof. Code§ 17529.5,
 8          by advertising in and sending unlawful spam e-mails.
 9      •   Liquidated damages of $211 ,000 against Defendant in the amount of $1 ,000 per each of
10          the two-hundred-eleven (211) unlawful spam e-mail, as authorized by Bus. & Prof. Code
11          § 17529.S(b)(l)(B)(ii).
12      •   Reasonable attorneys'      fees and costs as authorized          by Bus. &       Prof. Code
13          § 17529.S(b)(l)(C).
14      •   Disgorgement of all profits derived from unlawful spams directed to California residents;
15          monies to be turned over to the Unfair Competition Law Fund and used by the California
16          Attorney General to suppo1t investigations and prosecutions of California's consumer
17          protection laws.
18      •   Costs of suit.
19      •   Such other and further relief as the Court deems proper.
20
                                          DEMAND FOR JURY TRIAL

21   Pursuant to the California Constitution and California Code of Civil Procedure§ 631 , Plaintiffs

22 are entitled to, and demands, a trial by jury.
23

24 Dated: June 7, 2021                                 Respectfully submitted,
25
                                                       CARPER LAW, PLLC
26
27

28
                                                       By        ~ JAMiELCARPER., ESQ.
                                                                   Attorney for Plaintiff

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